                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
 STEPHAN JULIAN,

                               Plaintiff,      Case No. 14-CV-07163

        v.                                     Judge Robert M. Dow, Jr.

 SGT. FRANKLIN D. PAZ, MAURICE                 Magistrate Judge Maria Valdez
 ANDERSON, AND THE CITY OF
 CHICAGO,                                      JURY TRIAL DEMANDED
                               Defendants.


APPENDIX TO DEFENDANTS’ STATEMENT OF ADDITIONAL MATERIAL FACTS

 Exhibit                                        Description
   A         Transcript of April 21, 2015 Deposition of Franklin D. Paz
   B         Transcript of April 21, 2015 Deposition of Maurice Anderson
   C         Transcript of March 16, 2016 Deposition of Demeka Burleigh
   D         Transcript of September 17, 2015 Deposition of Zebedee Denard
   E         ECF No. 21, Defendants’ Answer and Affirmative Defenses to Plaintiff’s First
             Amended Complaint, December 2, 2014
    F        ECF No. 26, Defendant Anderson’s Answer and Affirmative Defenses to Plaintiff’s
             Amended Complaint, December 16, 2014
   G         Transcript of March 23, 2015 Deposition of Stephan Julian

                                                          Defendants City of Chicago,
                                                          Sgt. Franklin Paz, and Maurice
                                                          Anderson

                                                          By: /s/ Jonathan B. Cifonelli
                                                                One of Their Attorneys
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